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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


DAVID BETANCOURT-RIVERA,

       Plaintiff,

                   v.                         Civil No. 17-2040 (FAB)

WANDA VÁZQUEZ-GARCED, et al.,

       Defendants.


                            OPINION AND ORDER

BESOSA, District Judge.

      Before    the     Court    is    defendants’      Wanda   Vázquez-Garced

(“Vázquez”)’s    and     Erick   Rolón-Suárez’       (“Rolón”)’s   motion   for

reconsideration regarding denial of the automatic stay pursuant to

the Puerto Rico Oversight, Management and Economic Stability Act

(“PROMESA”), 48 U.S.C. §§ 2101 et seq.            (Docket No. 16.)    For the

reasons   set   forth     below,      Vázquez’s   and    Rolón’s   motion   for

reconsideration is GRANTED.

I.    Background

      Plaintiff David Betancourt-Rivera (“Betancourt”) commenced

this action on August 2, 2017 pursuant to 42 U.S.C. § 1983

(“section 1983”), asserting that Vázquez, the Puerto Rico Attorney

General, and Rolón, Secretary of the Puerto Rico Department of

Corrections and Rehabilitation, violated the Eighth Amendment of
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the   United    States   Constitution. 1       (Docket    Nos.   1   and   26.)

Betancourt is an inmate in the Commonwealth of Puerto Rico’s prison

system.    (Docket No. 26.)      According to Betancourt:

       [He] is a witness, they put [witnesses] in a building
       for witnesses, and although there was an agreement that
       they were not going to mix [inmates] together, they are
       doing it, even though in the past witnesses were killed.
       [Inmates] are living neither safely nor at peace. 2

Id. at p. 5.     He requests that the Court order Vázquez and Rolón

to remove non-witnesses from his facility, to corroborate that

inmates housed in the same facility as Betancourt are indeed

witnesses, and to transfer Betancourt to “Stop 8 3 like before.”

Id. at p 6.     Moreover, Betancourt requests $3,000,000 in monetary

damages.

       Vázquez filed two notices of automatic stay pursuant to

Title III of the PROMESA.         (Docket Nos. 12 and 14.)           The Court

denied both requests to stay this litigation.            (Docket Nos. 13 and

15.) Vázquez and Rolón now move for reconsideration of the Court’s



1 Section 1983 is a federal statute by which the deprivation of constitutional

rights may be redressed. 42 U.S.C. § 1983.

2 The Eighth Amendment provides that “[e]xcessive bail shall not be required,
nor excessive fines imposed, nor cruel and unusual punishments inflicted.” U.S.
Const. amend. VIII. The Eighth Amendment governs section 1983 claims regarding
allegations that prison officials failed to place inmates in protective custody.
See Giroux v. Somerset Cnty., 178 F.3d 28 (1st Cir. 2009) (applying the Eighth
Amendment to section 1983 claims that prison officials placed a government
cooperator in a prison cell with an inmate posing a known danger).

3
 “Stop 8” refers to a prison facility located at what used to be Stop 8 of the
now-defunct street car line on Fernández-Juncos Avenue.
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denial of the automatic stay.           (Docket No. 16.)           Having further

considered the issue, the Court concurs that the automatic stay is

applicable to Betancourt’s section 1983 cause of action pursuant

to    Title     III   of   PROMESA.         Accordingly,      the    motion    for

reconsideration is GRANTED.

II.    Legal Standard

       The Federal Rules of Civil Procedure “do not specifically

provide for the filing of motions for reconsideration.”                   Sánchez-

Pérez v. Sánchez-González, 717 F. Supp. 2d 187, 193-94 (D.P.R.

2010) (Besosa, J.) (quoting Sánchez-Medina v. UNICCO Serv. Co.,

265 F.R.D. 29, 32 (D.P.R. 2010)).                  “[I]t is settled in this

circuit[, however,] that a motion which ask[s] the court to modify

its   earlier    disposition   of     [a]   case    because   of    an   allegedly

erroneous legal result is brought under Fed.R.Civ.P. 59(e).” Marie

v. Allied Home Mortg. Corp., 402 F.3d 1, 7 (1st Cir. 2005) (quoting

In re Sun Pipe Line Co., 831 F.2d 22, 24 (1st Cir. 1987)); see

also Cent. Produce El Jibarito v. Luna Commercial Corp., 880 F.

Supp. 2d 282, 284 (D.P.R. 2012) (Besosa, J.) (quoting the same).

       Pursuant to Federal Rule of Civil Procedure 59(e), a district

court will alter its original order only if it “evidenced a

manifest error of law, if there is newly discovered evidence, or

in certain other narrow situations.”           Biltcliffe v. CitiMortgage,

Inc., 772 F.3d 925, 930 (1st Cir. 2014) (quoting Global Naps, Inc.
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v. Verizon New England, Inc., 489 F.3d 13, 25 (1st Cir. 2007)).            A

motion for reconsideration does “not provide a vehicle for a party

to undo its own procedural failures [or] allow a party [to] advance

arguments that could and should have been presented to the district

court prior to judgment.”        Iverson v. City of Bos., 452 F.3d 94,

104 (1st Cir. 2006) (citing Aybar v. Crispin–Reyes, 118 F.3d 10,

16 (1st Cir. 1997)).      “Rule 59(e) does not exist to allow parties

a second chance to prevail on the merits [. . . and] is not an

avenue for litigants to reassert arguments and theories that were

previously rejected by the Court.”         Harley–Davidson Motor Co. v.

Bank of New England–Old Colony, N.A., 897 F.2d 611, 616 (1st Cir.

1990).

       In deciding a motion for reconsideration, the reviewing court

has    considerable    discretion.       Venegas-Hernández     v.   Sonolux

Records, 370 F.3d 183, 190 (1st Cir. 2004).           “As a general rule,

motions for reconsideration should only be exceptionally granted.”

Villanueva-Méndez v. Nieves-Vázquez, 360 F. Supp. 2d 320, 323

(D.P.R. 2005) (Domínguez, J.).

III. Discussion

       The Court’s disposition regarding the automatic stay must

ensure that Betancourt is afforded judicial redress for purported

violations of his civil rights without frustrating the debt-

restructuring scheme set forth in PROMESA.               Regrettably, the
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economic    crisis     afflicting   the    Commonwealth    of   Puerto    Rico

requires the Court to reconcile these interests.

      A.    PROMESA, Title III and the Automatic Stay

            On June 30, 2016, President Barack Obama signed PROMESA

into law.      PROMESA seeks to address the dire fiscal emergency in

Puerto Rico, and sets forth “[a] comprehensive approach to [Puerto

Rico’s] fiscal, management and structural problems and [. . .] a

Federal statutory authority for the Government of Puerto Rico to

restructure debts in a fair and orderly process.”                  48 U.S.C.

§ 2194(m)(4).     PROMESA establishes a seven-member Oversight Board

for Puerto Rico.       Id. at § 2121(e)(1)(A).         “The purpose of the

Oversight Board is to provide a method for [Puerto Rico] to achieve

fiscal responsibility and access to the capital markets.”              Id. at

§ 2121(a). 4

            Congress    patterned    the   automatic    stay    contained   in

section 2194 of PROMESA on the United States Bankruptcy Code.

48 U.S.C. §§ 2102-2241.          Section 2194(b)(1) of PROMESA stays

“actions or proceedings against the Government of Puerto Rico that



4
  The Oversight Board operates as an entity within the Government of Puerto
Rico, id. at § 2121(c), and wields broad authority over the Commonwealth and
any of its instrumentalities designated as “covered” instrumentalities. Id.
§ 2121(d)(1). For instance, the Oversight Board has the authority to develop,
review, and approve territorial and instrumentality fiscal plans and budgets,
id. §§ at 2141—2142; to enforce budget and fiscal plan compliance, id. §§ at
2143—2144; to seek judicial enforcement of its authority to carry out its
responsibilities under PROMESA, id. § at 2124(k); and to intervene in any
litigation filed against the Commonwealth or its instrumentalities. Id. § 2152.
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w[ere]   or    could    have     been    commenced      before      the    enactment    of

[PROMESA].”      Id. at § 2194(b)(1).           The statute also stays judicial

actions “to recover a Liability Claim against the Government of

Puerto Rico that arose before the enactment of [PROMESA].”                             Id.

In the bankruptcy context, the automatic stay becomes operative

upon the filing of a bankruptcy petition, and “is extremely broad

in scope,” applying “to almost any type of formal or informal

action   taken       against    the    debtor.”         Montalvo     v.    Autoridad    de

Acueductos y Alcantarillados, 537 B.R. 128, 140 (Bankr. D.P.R.

2015) (citing Alan N. Resnick & Henry J. Sommer, 3 Collier on

Bankruptcy ¶ 362.03 (16th ed. 2015)). 5

              Suspending       debt-related      litigation        is     “essential    to

stabilize      the     region     for    the    purposes       of       resolving”     the

Commonwealth’s        financial       crisis.     Id.     at   §    2194(m)(5).        The

automatic stay “allow[s] the Government of Puerto Rico a limited

period   of    time     during    which    it     can    focus     its     resources    on

negotiating a voluntary resolution with its creditors instead of

defending      numerous,        costly     creditor        lawsuits.”           Id.    at

§ 2194(n)(2).        Congress indicated that by serving these important


5  The automatic stay in PROMESA, however, is “limited in nature,” 48
U.S.C. § 2194(m)(5)(B), and remained in effect upon enactment of PROMESA until
the earlier of (1) February 15, 2017, with a possible extension of sixty or
seventy-five days, or (2) the date on which the Oversight Board filed a petition
on behalf of the Government of Puerto Rico or any of its instrumentalities to
commence debt-adjustment proceedings pursuant to Title III of PROMESA. Id. at
§ 2194(d). The initial automatic stay expired on May 1, 2017.
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purposes, PROMESA’s automatic stay was ultimately intended to

“benefit the lives of 3.5 million American citizens living in

Puerto Rico.”      Id. at § 2194(n)(5).

            The Oversight Board filed a Title III petition on behalf

of   the   Commonwealth    of   Puerto   Rico   on   May   3,   2017.     In   re

Commonwealth of Puerto Rico, No. 17-3283 (LTS) (D.P.R. May 3,

2017). 6    Title III of PROMESA parallels the debt reorganization

structure    for   municipalities      set   forth   in    Chapter   9   of    the

Bankruptcy Code.       See 48 U.S.C. §§ 2161, 2164 (incorporating by

reference 11 U.S.C. §§ 362, 922).             Because the Commonwealth of

Puerto Rico seeks relief pursuant to Title III, the automatic stay

remains in effect. 7      Id. at § 2194(d)(1)(C).

            This Court possesses the authority to determine whether

the automatic stay is applicable.            See Chao v. Hospital Staffing

Services Inc., 270 F.3d 374, 384 (6th Cir. 2001).                    The Sixth

Circuit Court of Appeals in Chao held that:


6 The Oversight Board also filed Title III petitions on behalf of the Puerto
Rico Sales Tax Financing Corporation (“COFINA”), the Puerto Rico Highways and
Transportation Authority (“HTA”), the Employees’ Retirement System (“ERS”), and
the Puerto Rico Electric Power Authority (“PREPA”).       The Oversight Board
commissioned Prime Clerk LLC to maintain filings and other records pertaining
to PROMESA litigation. Dockets relating to litigation commenced pursuant to
Title III are available at https://cases.primeclerk.com/puertorico.

7 The court presiding over the Title III petition confirmed that Bankruptcy Code
sections 362(a) and 922(a) are applicable, enjoining all persons and entities
“from commencing or continuing any judicial, administrative, or other action or
proceeding against the Debtors, including the issuance or employment of process,
that was or could have been commented before the Title III Cases were commenced.”
In re Commonwealth of Puerto Rico, No. 17-3282, Docket No. 543 (D.P.R. Jun. 29,
2017) (Swain, J.).
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       Not surprisingly, courts have uniformly held that when
       a party seeks to commence or continue proceedings in one
       court against a debtor or property that is protected by
       the stay automatically imposed upon the filing of a
       bankruptcy petition, the non-bankruptcy court properly
       responds to the filing by determining whether the
       automatic stay applies to (i.e. stays) the proceedings.

Id.    (citing cases from the Second, Fifth and Ninth Circuit Courts

of Appeals).        Although the First Circuit Court of Appeals has not

addressed this issue, bankruptcy courts within this circuit concur

that “[t]he court in which the litigation claim to be stayed is

pending has jurisdiction to determine not only its own jurisdiction

but also the more precise question whether the proceeding pending

before it is subject to the automatic stay.”              In re Martínez, 227

B.R. 442, 444 (Bankr. D.N.H. 1998) (citation omitted).

       B.     The Court’s Initial Denial of the Automatic Stay

              Originally, the Court denied Vázquez’s request to stay

this action because PROMESA must comport with federal law.               Docket

No. 13; See, e.g., Peaje Investments LLC v. García-Padilla, 845

F.3d 505, 511 (1st Cir. 2017) (holding that the Fifth Amendment of

the United States Constitution entitles creditors to protect their

property      interests     during     bankruptcy   proceedings).       PROMESA

provides that “nothing in this Act shall be construed as impairing

or    in    any   manner   relieving    a   territorial   government,   or   any

territorial instrumentality thereof, from compliance with Federal

laws.”      48 U.S.C. § 2106.
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             Irrespective    of   the      pending   economic        crisis,     the

Commonwealth of Puerto Rico continues to function as a governmental

unit subject to the United States Constitution and federal law.

Congress enacted section 1983 “to deter state actors from using

the badge of their authority to deprive individuals of their

federally guaranteed rights and to provide relief to victims if

such deterrence fails.”       Wyatt v. Cole, 504 U.S. 158, 161 (1992).

Because    Betancourt’s     section   1983    action   pertains        to    alleged

violations of the Eighth Amendment, the Court permitted this

litigation to proceed.

      C.     The Automatic Stay         is    Applicable       to     Betancourt’s
             Section 1983 Claim

             In the year following the Commonwealth of Puerto Rico’s

Title III petition, several courts have applied the automatic stay.

Consequently,    the   parameters     of     the   automatic    stay       are   more

precise. 8     Actions    subject     to     the   automatic        stay    “involve

significant problems which are not encountered in the private

sector,” because “important constitutional issues arise when a


8 The automatic stay in inapplicable to habeas corpus actions.      See Atiles-
Gabriel v. Commonwealth, 256 F. Supp. 3d 122. 127 (D.P.R. 2017) (Gelpí, J.)
(“Even if Congress had intended Title III to trigger a stay so broad as to
suspend the writ of habeas corpus, Congress would not have manifested that
intent by legislative silence”). Moreover, actions that seek injunctive relief
rather than monetary damages may fall beyond the scope of the automatic stay.
See Vázquez-Camora v. Dep’t of Educ., 255 F. Supp. 3d 298 (D.P.R. 2017) (Gelpí,
J.) (“Plaintiff seeks de novo judicial review of an agency action to under [the
Individuals with Disabilities Education Improvement Act]. The relief requested
is not monetary damages, rather, Plaintiff seeks injunctive and declaratory
relief to enforce a federally protected right.”).
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[government entity] enters the bankruptcy arena.”                 Bennett v.

Jefferson County, 518 B.R. 613, 637 (N.D. Ala. 2014) (contrasting

the policies underlying Chapter 11 bankruptcy with Chapter 9

bankruptcy, noting that the purpose of Chapter 9 “is not future

profit,   but    rather    continued   provision   of    public   services”)

(citation omitted).        PROMESA and precedent from this district

establish that the automatic stay encompasses Betancourt’s section

1983 action.

           1.     Section 1983 and the Automatic Stay

                  The district courts presiding over section 1983

actions apply the automatic stay, directing litigants to seek

relief from the Title III petition court. See Ruiz-Colón v. Elías,

No. 17-2223, 2018 U.S. Dist. LEXIS 74455 (D.P.R. Apr. 30, 2018)

(Young, J.) (applying the automatic stay to section 1983 action

against Puerto Rico prosecutors and police officers for alleged

violations of the Fourth, Eighth, and Fourteenth Amendments);

Nieves-López v. Bhatia-Gautier, No. 14-1220, Docket No. 69 (D.P.R.

Oct. 20, 2017) (García, J.) (applying the automatic stay to a

section   1983    action    premised    on   political    discrimination);

Marrero-Méndez v. Pesquera, No. 13-1203, Docket No. 131 (D.P.R.

July 20, 2017) (García, J.) (applying the automatic stay to a

section 1983 action against the superintendent of the Puerto Rico

Police Department (“PRPD”) for religious discrimination); María
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Judith Díaz-Castro v. Commonwealth of Puerto Rico, No. 16-2873,

Docket No. 31 (D.P.R. Jun. 20, 2017) (Cerezo, J.) (applying the

automatic stay to a section 1983 action against PRPD officers for

purported violations of the Fourth, Fifth, Eighth and Fourteenth

Amendments); Caraballo-Rivera v. García-Padilla, No. 14-1435, 2017

U.S. Dist. LEXIS 165529 (Oct. 3, 2017) (Domínguez, J.) (applying

the automatic stay to a section 1983 action where plaintiff sued

Puerto Rico governor for political discrimination).

                  The   First   Circuit    Court   of   Appeals   stayed    the

appeals in cases involving section 1983 causes of action.                   See

Cano-Rodríguez v. De Jesús-Cardona, No. 16-1532 (1st Cir. Nov. 27,

2017); Besosa-Noceda v. Miranda-Rodríguez, No. 16-2117 (1st Cir.

Jan 23, 2018).       In Cano-Rodríguez and Besosa-Noceda, the First

Circuit Court of Appeals declined to adjudicate the appeal, holding

that “[i]n view of the petition to restructure its debts filed by

the Commonwealth of Puerto Rico, this appeal is stayed.”              Id.

                  The   predominant       rationale     for   extending     the

automatic stay to section 1983 actions centers on the relief

requested by plaintiffs. A liability claim is a “right to payment”

or “right to an equitable remedy for breach of performance if such

breach gives rise to a right to payment.” 9        48 U.S.C. § 2194(a)(1).


9 Similarly, section 362(a)(6) of the Bankruptcy Code automatically stays “any
act to collect, assess, or recover a claim against the debt” arising before the
petition.
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Civil actions containing a demand for money damages constitute a

“liability.”      48 U.S.C. § 2194(a)(1); see Marrero-Méndez, No. 13-

1203, Docket No. 131 at p. 1 (holding that the section 1983 claim

falls within the automatic stay because “the Commonwealth of Puerto

Rico has assumed the costs of [defendants’] representation and

possibly the payment of any adverse judgment”).                  PROMESA halts

litigation “to recover a Liability Claim against the Government of

Puerto Rico.”      Id.     Accordingly, the automatic stay encompasses

section 1983 actions that seek money damages from the Title III

debtor.

                   A     decision   by   this       Court     with     analogous

circumstances and procedural posture is illustrative.                   In Ruiz-

Colón v. Elías, plaintiffs sued a prosecutor within the Puerto

Rico Department of Justice pursuant to section 1983 for purported

violations   of    the    Fourth,   Eighth,   and   Fourteenth       Amendments.

No. 17-2223, 2018 U.S. Dist. LEXIS 74455, at *3 (April 30, 2018)

(Young,    J.).        Plaintiffs    requested      injunctive       relief   and

$25,000,000 in monetary damages.         Id. at *2.          Just as the Court

did in this litigation, the Ruiz-Colón court initially denied

defendants’ request to stay the section 1983 action pursuant to

PROMESA.     Id.    at   *3.    Defendants    moved    for    reconsideration,

presenting “the Court with a difficult, though now recurrent,

problem viz. administrating the stay occasioned by the quasi-
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bankruptcy       status     now   being     endured    by   the    people    of   the

Commonwealth of Puerto Rico.” Id. The Court in Ruiz-Colón granted

defendants’ motion for reconsideration because the section 1983

action imposed litigation costs on the Commonwealth of Puerto Rico

and possible liability for monetary damages. 10                 Id. at *12 (“These

are the type of suits contemplated by PROMESA that require an

automatic stay because the defense is funded by the Commonwealth

of Puerto Rico and its treasury.”).

                    Betancourt’s      section     1983      action      exposes   the

Commonwealth of Puerto Rico to monetary damages in the same manner

as the litigation in Ruiz-Colón.              A victory for Betancourt would

entitle    him     to     money   damages    payable     from     public    coffers.

Moreover, the Commonwealth of Puerto Rico is litigating this matter

on behalf of Vázquez and Rolón, incurring costs associated with

this   action      while     simultaneously      addressing       the     Title   III

petitions.       A judgment in favor of Betancourt would constitute a

“Liability Claim,” instilling in Betancourt a “right to payment”


10 Plaintiffs in Ruiz-Colón v. Elías and Cruz-Rodríguez v. Administración de
Corrección de Puerto Rico, et al. both sued Commonwealth of Puerto Rico
instrumentalities pursuant to 42 U.S.C. § 1983, and requested monetary damages.
2018 U.S. Dist. LEXIS 74455; No. 17-1464 (Young, J.).        The automatic stay
applied in Ruiz-Colón, but not in Cruz-Rodríguez. Id. Unlike the plaintiff in
Ruiz-Colón, however, the plaintiff in Cruz-Rodríguez requested that his “liberty
be restored,” implicating the writ of habeas corpus. Habeas actions are not
subject to the automatic stay. See Atiles-Gabriel v. Commonwealth, 256 F. Supp.
3d 122, 127 (D.P.R. 2017) (Gelpí, J.) (“[R]eading PROMESA as a whole, it is
unlikely Congress intended the filing of a Title III petition to trigger a stay
so broad that the availability of habeas procedures would even be called into
question.”).
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against     the   Commonwealth        of    Puerto     Rico.       48     U.S.C.

§ 2194(a)(2)(A).        By   adopting      the   automatic     stay,    Congress

contemplated “an orderly adjustment of all of the Government of

Puerto Rico’s liabilities.”        Id. at § 2914(n)(4).          Consequently,

the automatic stay halts this action unless the bankruptcy court

grants relief from the stay.

                  The   Court    is     mindful      that   Betancourt     seeks

compliance with the constitutional prohibition against cruel and

unusual punishment enshrined in the Eighth Amendment.                    (Docket

No. 26.)    Compliance with this essential protection is consistent

with the automatic stay.        The court presiding over the Title III

petition affirmed that the automatic stay “shall [not] affect the

substantive rights of any party.”            In re Commonwealth of Puerto

Rico, No. 17-bk-3282, Docket No. 543 at p. 5 (D.P.R. Jun. 29, 2017)

(Swain, J.). 11   The Title III court will determine whether relief

from the automatic stay is warranted.            See In Re Fin. Oversight &

Mgmt. Bd., No. 17-bk-4780 2017 Bank. LEXIS 4168 *9—10 (D.P.R.

Sept. 14, 2017) (Swain, J.) (“To determine whether there is cause

to lift the bankruptcy stay, the Court examines the factors first


11Should Betancourt move for relief from the stay, he must comport with the
Third Amended Notice, Case Management and Administrative Procedures, setting
forth the requirements for requesting relief from the automatic stay. (In re
Commonwealth of Puerto Rico, Case No. 17-3283, Docket No. 1513 at pp. 11-12.)
For instance, at least fifteen business days before filing for relief from the
automatic stay, litigants must contact counsel for the Oversight Board. Id. at
p. 11-12.
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enumerated by the United States Court of Appeals for the Second

Circuit in In re Sonnax Indus.”).           Indeed, the Title III Court

previously addressed whether the automatic stay is applicable to

section 1983 actions.        See In re Commonwealth of Puerto Rico,

No. 17-bk-3283, Docket No. 2205 (D.P.R. Jan. 1, 2018) (denying

relief from the automatic stay in a section 1983 action, holding

that “[a]lthough the Court is deeply mindful of the serious nature

of the factual allegations underlying the Lawsuit, the Movants

have not made the requisite showing of cause for relief from the

automatic stay”). 12     Accordingly, the Court grants Vázquez’s and

Rolón’s motion to stay this action.         (Docket No. 12.)




12See also, id. at Docket No. 1234 (D.P.R. Sept. 5, 2017) (Swain, J.) (denying
relief from the automatic stay in a section 1983 action against three PRPD
officers); id. at Docket No. 1205 (D.P.R. Aug. 29, 2017) (Swain, J.) (denying
relief from the automatic stay in a section 1983 action against Puerto Rico
Department of Justice attorneys and PRPD officers).
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IV.    Conclusion

       For the reasons set forth above, Vázquez’s and Rolón’s motion

for reconsideration is GRANTED.          (Docket No. 16.)     This case is

stayed pursuant to 48 U.S.C. § 2161(a) and 11 U.S.C. §§ 362(a)

and 922.     Any request to lift or vacate the stay must be filed in

the bankruptcy court in Bankruptcy Case No. 17-bk-3283 (LTS).

       IT IS SO ORDERED.

       San Juan, Puerto Rico, May 16, 2018.


                                          s/ Francisco A. Besosa
                                          FRANCISCO A. BESOSA
                                          UNITED STATES DISTRICT JUDGE
